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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION

  KARL STEEVES,
  JACOB KRAMER,
  CAROLYN RUSSELL,
  ANAMARIA MORAN,

        Plaintiff/Counter-Defendant,
                                                  CASE NO. 0:21-cv-61426-XXXX
  v.

  HALSTED FINANCIAL
  SERVICES, LLC,

        Defendant/Counter-Plaintiff.
  _________________________________/

         MOTION TO DISMISS COUNT II OF THE SECOND AMENDED
                            COMPLAINT

        COMES NOW, Defendant, Halsted Financial Services, LLC, by and through

  undersigned counsel, and pursuant to the applicable Florida Rules of Civil Procedure,

  hereby files this Motion to Dismiss Count II of the Second Amended Complaint (Doc.

  No. 35). In support thereof, Defendant would state:

  1.    On January 7, 2022, Plaintiffs filed a consolidated two-count Second Amended

  Complaint (Doc. No. 35) against Defendant alleging that violations of the Fair Debt

  Collection Practices Act (FDCPA).

  2.    Count II of the Second Amended Complaint alleges that the Collection Letters

  mailed to Plaintiffs by Defendant violated § 1692g(a)(1) and § 1692e(2)(A) of the

  FDCPA because the Collection Letters sent to Plaintiffs

        fail to adequately inform the least sophisticated consumer of the true
        amount owed to the current creditor and otherwise falsely represents
        the character and/or amount of the debt. In short, Defendant failed to
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        provide an explicit disclosure of accrued and accruing interest the
        Consumer Debts are subject to pursuant to the agreement underlying
        the Consumer Debts.

  See Paragraph 76 of the Second Amended Complaint

  3.    Count II of Plaintiffs’ Second Amended Complaint fails to state a cause of

  action because:

        a.     The Collection Letters accurately state the amount of the debt due on

               the date the Collection Letters were mailed;

        b.     An “amount” that is due can include principal, interest, penalties,

               attorneys' fees, and other components without identifying each of the

               component parts.

        c.     It is clear from the Collection Letters that no interest or other charges

               have been incurred since the date the Plaintiffs defaulted on their debt

               and, correspondingly, no interest or fees are accruing.

        WHEREFORE, Defendant, LTD Financial, moves this Court for an Order

 dismissing Count III of the Complaint and for such other relief the Court deems just

 and proper.

                               MEMORANDUM OF LAW

        A complaint must contain “a short and plain statement of the ultimate facts

  showing that the pleader is entitled to relief.” Fed. R. Civ. Proc. Rule 8(a)(2). To

  survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to “state a claim to relief that is plausible on its face.” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009). “A facially plausible claim must allege facts that are
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  more than merely possible,” and a plaintiff's factual allegations that are ‘merely

  consistent with’ a defendant's liability” will not be considered facially plausible.

  Taylor v. Royal Caribbean Cruises, Ltd., No. 20-14754, 2021 WL 3502626, at *3 (11th

  Cir. Aug. 10, 2021)(citations omitted). “Mere conclusory statements do not suffice.”

  Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 924 (11th Cir. 2020). “A district

  court can generally consider exhibits attached to a complaint in ruling on a motion to

  dismiss, and if the allegations of the complaint about a particular exhibit conflict with

  the contents of the exhibit itself, the exhibit controls.” Hoefling v. City of Miami, 811

  F.3d 1271, 1277 (11th Cir. 2016).

        Plaintiffs assert that the Collection Letters are false in misleading as the

  “Total Amount Due” identified in the Collection Letters do not differentiate between

  principal, interest and fees that were charged by the original creditor or which have

  accrued or is accruing since the current creditor purchased the debt from the original

  creditor. The Plaintiffs assert that “Defendants (sic) failed to provide an explicit

  disclosure of accrued and accruing interest and fees which the Consumer Debts are

  subject thereto.” See Doc. No. 35, Para. 79)

        The Collection Letters accurately identify the amount of the debt as required

  by § 1692g. “An “amount” that is due can include principal, interest, penalties,

  attorneys' fees, and other components. Interest then can be added to that total.” Hahn

  v. Triumph Partnerships LLC, 557 F.3d 755, 756-57 (7th Cir. 2009). In other words,

  “if a collection notice correctly states a consumer's balance without mentioning

  interest or fees, and no such interest or fees are accruing, then the notice will neither
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  be misleading within the meaning of Section 1692e, nor fail to state accurately the

  amount of the debt under Section 1692g.” Taylor v. Fin. Recovery Servs., Inc., 886

  F.3d 212, 215 (2d Cir. 2018). Further, there would be no falsity even if the “amount

  due” had been described as “principal due”—for Wahl observes that when interest is

  compounded, today's interest becomes tomorrow's principal, so all past-due amounts

  accurately may be described as “principal due”. Hahn, 557 F.3d at 757 (citing Wahl

  v. Midland Credit Management, Inc., 556 F.3d 643 (7th Cir.2009)).

        To the extent Plaintiffs argues that interest and fees “could be accruing” Count

  II fails to meet the standard under Rule 8. As previously noted, “a facially plausible

  claim must allege facts that are more than merely possible.” Taylor, 2001 WL

  3502626, at *3. Plaintiffs’ claims are, at best, premature. There are no facts alleged,

  or could be alleged, that would indicate interest and fees are accruing and thus

  Defendant has violated Sections 1692g(a)(1) and 1692e(2)(A). The Collection Letters

  each state the “Total Amount Due”. There is no allegation that the number is

  inaccurate or that interest and fees are actually accruing. Thus, this portion of Count

  II of Plaintiffs’ Second Amended Complaint is nothing more than mere speculation

  and does not satisfy the minimum requirements of Rule 8.

        As a result, of the foregoing, Count II of the Second Amended Complaint should

  be dismissed for failing to state a claim upon which relief may be granted.

                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been
  furnished to all attorneys of record via the Florida e-Filing Portal on the 19th day of
  January, 2022.
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